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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
                       NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                             JUDGE ENGELHARDT
                                             MAG. JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                          U.S. EXHIBIT NO. 10-C
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                                      FEMA10-000310




Dear Prospective Offeror:

Please carefully review the attached request for quotation and comply with all instructions
regarding the submission of your quote (Read section A.8 of the RFQ for determination
factors of award). The vendor must comply with allsections of the attached RFQ and must
be updated in the Central Contractors Registration; also their Online Responsibility and
Certifications enrollment must be completed before any quotes can be submitted (see
below for web site link). All vendors must submit a copy of their Louisiana dealer’s license
along with inventory quote and EFT filled out and submitted with all updated information.
Also include 3 references for past performance including points of contact and current
phone numbers, the dead line for submission is February 15, 2006 by 12:00 p.m. eastern
time. Quotes must be e-mailed to Ryan Pike at ryan.pike@associates.dhs.gov no faxes
please.
                                    ATTN!
IF YOU AILE UNABLE TO INPUT YOUR CERTIFICATION INFORMATION ON THE
ORCA WEBSITE. SIMPLY FILL OUT SECTION A.9 OF THE RFQ AND SUBMIT
WITH QUOTE



         FEMA TRAVEL TRAILER REQUIREMENTS

       VENDOR MUST BE A LICENSED DEALER AND LOCATED IN LOUISIANA
       (Proposed units must be currently in dealer inventory.)
       Provide VIN number and make and modet number for each travel trailer
3.     Proposed units must be 27’-35’ ft manufactured length
4.     Award wil! be made based on lowest price
5.     Must have Furniture, ACiHeat, and Microwaves (BASIC AMENITIES ONLY)
6.     Price must include delivery, PDI, and battery. Lead time from notification to
       delivery must be factored in to your proposed delivery schedule
       Must be brand new and under warranty
8.     Delivery locations are in Louisiana,( LAKE CHARLES & BATON ROUGE)
9.     No toy haulers! 5th Wheels! Or Pop Up’s!
I0.    The Federal government requires that all vendors be registered in the Central
       Contractor Registration Database (CCR) and have their Online Responsibility
       Certification (ORCA) updated, also that payments to vendors be made via
       electronic funds transfer (EFT). The banldng information requested helps to
       facilitate EFT payments and is included with your offic!al contract file with the
       Agency. If not registered or updated in the CCR and ORCA, please do so at
       www.ccr.gg~ and https;/orca.bpn.~ov
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                                   FEMA10-000311




            DEPARTMENT OF HOMELAND SECURITY
         FEDERAL EMERGENCY MANAGEMENT AGENCY
               ELECTRONIC FUNDS TRANSFER

 Electronic funds transfer is the required form of payment for all contracts awarded
 by the Federal Government. Please furnish the information below in order to
 process payments to your financial institution:

 CONTRACTOR/VENDOR INFORMATION

    1. Contractor/Vendor Name:

    2. DUNS Number:

    3. Federal Tax ID No:

    4. Vendor Address:

       City, State & Zip

    5. Contact Name:

    6. Telephone Number:

    7. Fax Number:


 To obtain DUNS Number go to http:/iupdate.dnb.com or call 800-234-3867

                            BANKING INFORMATION

    8. Bank Name:

    9. Routing No. (ABA#):

   10. Account No:

   11. Account Type: Checking      Savings     Lockbox

   12. Telephone No:

   13. Bank Point of Contact:
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                                                                                   FEMA10-000312

                                                                                                                                                                                 PAGE 1 OF 1
             SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS                                                         11. REOUISmON NO.
               OFFEROR TO COMPLETE BLOCKS 12, 17~ 23, 24, & 30
   ,ONTRACT No. ’                                                "                                                    I NN0007~¥2006T
                                                       ,. ORDER
                                        I ~" AWARD~FFEO’~’~E DA~NO.
 ¯ FOR SOLICITATION        .            I a. NAME                                                                     I b. TELEPHONE NO. (No Cofloc~ Call~)             OFFER DUE DATEtLOCAL
   INFORMATION CALL:                                                                                                                                                    TIME
                                        I Michael Wagner                                                              1917-587-45~2
9 ISSUED BY                                                         CODE ~               10, THIS ACQUISrl]ON
                                                                           t
   Department of Homeland Security                                                        [] UNRESTRICTED OR                ] SETASID~ I00 % FO~
   Federal Emergency Management Agency                                                                                           I~ SMALL BUSINESS                 []     EMERGING SMALL BUSlk
   Financial & Acquisition Management                                                                                                                                     BUSINESS
   500 C Street S.W,, Room 350                                                                                                   I----] HUBZONE SMALL
   Washington DC 20q72                                                                     NAICS:         3 3 62 14                     BUSINESS
                                                                                           S~ZE STANDARD:
                                                                                                                                      O~ED S,~LL ~US,NESS
                                                                                                                                 [] SERVIDE-DISABLEDVETERAN- []

11. DELIVERY FOR FOB DESTINA-                                                                                                             13h.. RATING



                                                                                                                                       I
 TION UNLESS BLOCK IS                    12. DISCOUNT TERM~
  MARKED                                     N/A                                          ] 13a, THISCONTRACTISA
                                                                                                   RATED ORDER UNDER
                                                                                                  DPAS (15 CFR 700)                       14. METHOD OF SOLICITATION
   ] SEE SCHEDULE

15. DELIVER TO                                                     CODE                  18, AD~INISTRERED BY                                                            CODE

   FEMA Red River Army Depot                                                                   COTR - James Kaczorowski
   100 Main Drive
   Attn: OTc Area, Bldg.M780
   POD: Bob Blevins
   Texarkana TX 75507-5000
17a. CONTRACTORJOFFEROR CODE 1                              FACILrPf CODE L              18a. PAYMENT WiLL BE MADE BY


   Dixie RV Super Stores                                                                       Federal Emergency Management Agency
   i02~I DEstination Drive                                                                     Disaster Finance Center, Bldg 708
                                                                                               Attn; Vendor Payments
                                                                                               P.O. Box 800
                                                                                               Berryville VA 22611
  Hammond LA 70~03
~LEPHONE NO.
                                                                                         I~.SUBMWINVOICESTOADDRESSSHOWNINBLOCKI~ UNLESSBLOCKBELOW|SCHECKED
--~ 1To. CHECK IF REMITTANCE IS DIFFERENT AND PUT SUCH ADDRESS IN OFFER                                         r~SEEADDENDUM

                                                                   See CONTINUATION ~age                          21,               22,                   23.                     24,
  ITEM NO.                                      SCHEDULI~ OF SUPPLfEStSERVIOES                                  QUANTITY           UNIT               UNIT PRICE                AMOUNT

                 The contractor shall provide eightyi0ne (8i)
                 Travel Trailers in accordance with the attached docL%ment
                 to be delivered to the location in Block #15.
                  The contractor shall provide a Bill of Lading for each
                  individual unit ordered hereunder. The Bill
                  Of Lading shall include, but not be limited to~ the
                  following: Contract N~er, Contractor Name, and the
                  unit VIN.
                  The Ltnits should be titled to "FEMA".
                  PLEASE FOLLOW INSTRUCTIONS IN ~ART A.I REGARDING
                  SUBMISSION OF INVOICES.
                 ITHE INVOICE WILL NOT BE PAID WITHOUT RECEIPT OF THE
                  ORIGINAL CERTIFICATE OF ORIGIN/TITLE,

                 The price of $1,499,686.65 for the 81 TT is all inclusive
                 including delivery to Texarkana, TX by October 29, 2005.


                 THIS IS A CONFIRMING PURCHASE ORDER -- DO NOT DOPLICATE



                  (Use R~voFso and/or Attach Addi~om~! Sh~L~ as Nocos-.ary)
 ACCOUNT1NGANDAPPROPRIATIONDATA See CONTINUATION Page                                                                                          26. TOTAL AWARD AMOUNT (For GovL Uso
                                                                                                                                                      NTB               $I, ~99., 686.65
   27a. SOL{CITATION INCORPORATES BY REFERENCE FAR 52.~12ol. 52112-4. FAR 52.212-3 AND 52112-5 ARE ATTACHED. ADDENDA          ’["]’ARE     E ARE NOT ATTACHED,
   27bo CONTRACT/PURCHASE ORDER INCORPORATES BY REFERENCE FAR 52~124. FAR 52.212-5 IS AT[ACHED. ADDENDA                       ~ARE         ~[] ARE NOT ATTACHED
 3ONTRACTOR IS REQUIRED TO SIGN THIS DOCUMENT AND RE]URN                 COPIES                  29. AWARD OF CONTRACT; REFERENCE                                     OFFER
  TO ISSUING OFFICE. CONTRACTOR AGREES TO FURNISH AND DELNER ALL |TEMS SET                      ~ I’-1 DATED                               . YOUR OFFER ON SOLICITATION {BLOCK
  FORTH OR OTHERWISE ID~J’{TJF~ED ABOVE AND ON ANY ADDITIONAL SHEETS SUBJECT TO                 ~ L_J~6). INCLUDING ANY ADDITIONS OR CHANGES WHICH ARE SET FORTH
  THE TERMS AND CONDITIONS SPECIFIED HEREIN,
                                                                                                ! /HERBN ’S ACCEPTi~D AS TO ITEMS:
  SIGNATURE OF OFFEROPJCONTRAC’IOR


  NAME AND TITLE OF SIGNER (TYPE OR PRINT)                                                                                                        ¯                     131c, DATE SIGNED ~,~
                                                                                       131b. NAME OF CONTRAC~INg~OFFICER (-pipe OR pRINT)
                                                              1 30c, DATE SIGNED              Helen Hous~T[d                                                            I 2/~
                                                              I                               Contractinq OffiCer                                                         (/ ~-/?.
                                                                                                                                                                        I/~  "     ~.,,,....,,
  ~ORIZED FOR LOCAL REPRODUCTION                                                                                                      STANDARD FORM 1449
  ;IOUS EDITIOH IS NOT USABLE                                                                                                         PFoscn’bod by GSA- FAR (48 CFR) 53.212
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                CONTINUATION PAGE



A.1 PRICE!COST SCHEDULE


  ITEM          DESCRIPTION OF                      QTY UNIT                       UNIT                       AMOUNT
  NO.           SUPPLIES/SERVICES                                                  PRICE

  0001                                 1.00    lot       $1,499,686.65                              $1,499,686.65
                Deliver 81 Travel Trailers as outlined
                in your offer all inclusive including
                delivery to Texacana,
                FUNDING/REQ NO:     I: $1,499,686.65   NN00074Y2006T


                                                            GRAND TOTAL ---                         $I, 499,686.65


 ACCOUNTING AND APPROPRIATION                DATA :

 ACRN APPROPRIATION                                             REQUISITION NUMBER

      I 2006-06-1604DR-9044-                    -3190-D         NN00074Y2006T



 A.2 INVOICES

  An invoice is a Written request for payment under this contract for supplies delivered or for services rendered. Payment
of invoices submitted under this contract shall be made in accordance with the terms and conditions of the Prompt
Payment clause and in accordance with the provisions of other clauses in this contra~t. Failure or refusal to provide the
following information on all invoices submitted under this contract may result in the invoice being considered improper
for payment inaecordance with the Prompt Payment clause, In order to be proper, an invoice must include, as applicable,
the following:

A, GENERAL INFORMATION

TWO (2) INVOICE PACKETS SHALL BE PREPARED AND SUBMITTED AS FOLLOWS:

      1. One (I) invoice packet shall be sent to:

                DHS/FEMA Disaster Finance Center
                Attn: Vendor Payments
                Bldg. 708
                P.O. Box 800
                Berryville, VA 22611
and the invoi~ce shall contain the following:

     a. Name of Contractor
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      b. Invoice date

      c. Contract number (including order number, if any), contract line item number, contract description of supplies or
services, quantity, contract unit of measure and unit price, and extended total.

     d. Shipment number and date of shipment (bill-of-lading number and weight of shipment will be shown for
shipments on Government bills of lading).

      e. Name, title, phone number and complete mailing address of responsible Official who can be contacted in the
event of an improper invoice, if there are questions, or additional information is need6d by this agency to process
payment.

      f. The invoice should be itemized and numbered for each unit containing the following information on each unit (no
more than 20 units per page of the invoice): Unit Manufacturer, Make and Model, V!N#, and price for each unit.

     g. Any other information or documentation required by other provisions of the Contract (such as evidence of
shipment).

   2. The second packet shall contain a copy of the invoice, a cover letter stating how many Certificates of Origin are
contained in the packet, and the Original Certificates of Origin/Title made out to "FEMA" and mailed to:

                  DHS/FEMA HQ
                  Attu: James Kaezorowski
                  Room 254
                  500 C Street, SW,
                  Washington, DC 20472.

 B. ELECTRONIC FUNDS TRANSFER (EFT) INFORMATION

     l. The contractor should include the EFT information set forth below on all invoices submitted for payment under
this contract. Failure to provide the information or failure to notify this agency of changes to this information may result
in delays in payments and/or rejection of the invoice in accordance with the Prompt Payment clause of this contract. The
following EFT information should be submitted on each invoice:

     (a) Routing Transit Number (RTN) a" The edntrac.tor shall provide the current 9-digit RTN of the payee’s bank

     (b) Payee’s account number

     (c) Contractor’s Tax Identification Number (TIN)
     (The EFT information submitted must be that of the contractor unless there is an official Assignment of Claims on
file with the payment office.)

    If at any time during the term of this contract, the contractor changes any EFT information, (i.e. financial agent, RTN,
account number, etg.) the new EFT information must replace the old EFT information on subsequent invoices submitted
under this contract.

    To avoid delays in processing invoices, the contractor must also submit written notification of EFT information
changes to the office designated in this award document as soon as the new information is known to the contractor. This
notification must be in writing and signed by the individual authorized by the contractor to make such changes.
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                                        }.,,,..o.




 A.3 52.212-5 CONTRACT TERMS AND CONDITIONS R~QUIRED TO
      IMPLEMENT STATUTES OR EXECUTWE ORDERS--COMMERCIAL
      ITEMS (,IUL 2005)
  (a) The Contractor shall comply with the following Federal Acquisition Regulation (FAR) clauses, which are
incorporated in this contract by reference, to implement provisions of law or Executive orders applicable to acquisitions of
commercial items:

   (1)52.233-3, Protest after Award (AUG 1996) (31 U.S.C. 3553).

   (2)52.233-4, Applicable Law for Breach of Contract Claim (OCT 2004) (Pub. L. 108-77, 108-78)

  (b) The Contractor shall comply with the FAR clauses in this paragraph (b) that the Contracting Officer has indicated as
being incorporated in this contract by reference to implement provisions of law or Executive orders applicable to
acquisitions of commercial items: [Contracting Officer check as appropriate~]

   [] (1) 52.203-6, Restrictions on Subcontractor Sales to the Government (JU-L 1995), with Alternate I (OCT 1995)(4I
U.S.C. 253g and I0 U.S.C. 2402).

   [] (2) 52.219-3, Notice of Total HUBZone Set-Aside (JAN 1999) (15 U.S.C. 657a).

   [] (3) 52.219-4, Notice of Price Evaluation Preference for HUBZone Small Business Concerns (JUL 2005) (if the
offeror elects to waive the preference, it shall so indicate in its offer) (15 U.S.C. 657a).

  [] (4) (i) 52.219-5, Very Small Business Set-Aside (JUNE 2003) (Pub. L. 103-403, section 304, Small Business
Reauthorization and Amendments Act of 1994).

   [] (ii) Alternate I (MAR 1999) of 52.219-5.

   [] (iii) Alternate II (JUNE 2003) of 52.219-5.

   IX] (5)0) 52.219-6, Notice of Total Small Business Set-Aside (JUNE 2003) (15 U.S.C. 644).

   [] (ii) Alternate I (OCT 1995) of 52.219-6.

   [] (iii) Alternate II (MAR 2004) of 52.219-6.

   [] (6)(i) 52.219-7, Notice of Partial Small Business Set-Aside (JUNE 2003) (15 U.S.C. 644).

   [] (ii) Alternate I (OCT 1995) of 52.219-7.

   [] (iii) Alternate II (MAR 2004) of 52.219-7.

   [] (7) 52.219-8, Utilization of Small Business Concerns (MAY 2004) (I5 U.S.C. 637 (d)(2) and (3)).

   [] (8)(i) 52.219-9, Small Business Subcontracting Plan (JUL 2005) (15 U.S.C. 637(d)(4)).

   [] (ii) Alternate I (OCT 2001) of 52.219-9.

  [] (iii) Alternate II (OCT 2001)of 52.219-9.

  IX] (9) 52.219-14, Limitations on Subcontracting (DEC 1996) (15 U.S.C. 637(a)(14)).
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    [] (I 0)(i) 52.219-23, Notice of Price Evaluation Adjustment for Small Disadvantaged Business Concerns (JUL 2005)
(Pub. L. 103-355, section 7102, and 10 U.S.C. 2323) (if the offeror elects to waive the adjustment, it shall so indicate in
its offer).

   [] (ii) Alternate I (JUNE 2003) of 52.219-23.

   [] (iii) Alternate II (OCT 1998) of 52.219-23.

   ~ (11) 52.219-25, Small Disadvantaged Business Participation Program-2Disadvantaged Status and Reporting (OCT
 1999) (Pub. L. 103-355, section 7102, and 10 U.S.C. 2323).

   [] (!2) 52.219-26, Small Disadvantaged Business Participation Program--Incentive Subcontracting (OCT 2000) (Pub,
L. 103-355, section 7102, and 10 U.S.C. 2323).
                                                                             \o
   [] (13) 52.219-27, Notice of Total Service-Disabled Veteran-Owned Small Bus~ness Set-Aside (May 2004)

   [X] (14) 52.222-3, Convict Labor (JUNE 2003) (E.O. 11755).

   IX] (15) 52.222-19, Child Labor--Cooperation with Authorities and Remedies (JUN 2004) (E.O. 13126).
   [X] (16) 52.222-21, Prohibition o~ Segregated Facilities (FEB 1999).

   [X] (17) 52.222-26, Equal Opportunity (APR 2002) (E.O. 11246).

   IX] (18) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the Vietnam Era, and Other
Eligible Veterans (DEC 2001) (38 U.S.C. 4212).

   [X] (19) 52.222-36, A~irmative Action for Workers with Disabilities (JUN 1998) (29 U.S.C. 793).

   IX] (20) 52.222-37, Employment Reports on Special Disabled Veterans, Veterans of the Vietnam Era, and Other
Eligible Veterans (DEC 2001) (38 U.S.C. 4212).

   [] (21)52.222-39, Notification of Employee Rights Concerning Payment of Union Dues or Fees (DEC 2004) (E.O.
13201).

   [] (22)(i) 52.223-9, Estimate of Percentage of Recovered Material Content for EPA-Designated Products (AUG 2000)
(42 U.S.C. 6962(c)(3)(A)(ii)).

   [] (ii) Alternate I (AUG 2000) of 52.223-9 (42 U.S.C. 6962(i)(2)(C)).

   [X] (23) 52.225-1, Buy American Act--Supplies (JI./NE 2003) (41 I.I,S.C. 10a-10d).

    [] (24)(i) 52.225-3, Buy American Act-Free Trade Agreements-- Israeli Trade Act (JAN 2005) (41 IJ.S.C. 10a-10d,
.19 IJ.S.C. 3301 note, 19 U.S.C. 2112 note, Pub. L. 108-77, 108-78, 108-286).

   [] (ii) Alternate I (JAN 2004) of 52.225-3.

   [] (iii) Alternate II (JAN 2004) of 52.225-3.

   [] (25) 52.225-5, Trade Agreements (JAN 2005) (19 IJ.S.C. 2501, et seq., 19 U.S.C. 3301 note).

  [] (26) 52.225-13, Restrictions on Certain Foreign Purchases (MAR 2005) (E.O.s, proclamations, and statutes
administered by the Office of Foreign Assets Control of the Department of the Treasury).
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    [] (27) 52.225-15, Sanctioned European Union Country End Products (FEB 2000) (E.O. 12849).

    [] (28) 52.225-16, Sanctioned European Union Country Services (FEB 2000) (-E.O. 12849).

   [] (29) 52.232-29, Terms for F!nancing of Purchases of Commercial items (FEB 2002) (41 U.S.C. 255(0, 10 U,S.C.
2307(t’)),

   [] (30) 52.232-30, Installment Payments for Commercial Items (OCT 1995) (4l U.S.C. 255(f), 10 U.S.C. 2307(0).

   [] (31) 52.232-33, Payment by Electronic Funds Transfer--Central Contractor Registration (OCT 2003) (31 U.S.C.
3332).
   [X] (32) 52.232-34, Payment by Electronic Funds Transfer--Other than Central Contractor Registration (MAY 1999)
(31 U.S.C. 3332).

   [] (33) 52.232-36, Payment by Third Party (MAY" 1999) (31 U.S.C. 3332).

   [] (34) 52.239-1, Privacy or Security Safeguards (AUG 1996) (5 U.S.C. 552a).

  [] (35)(i) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels (APt!. 2003) (46 U.S.C. Appx
1241 and 10 U.S,C. 2631).

   [_] (ii) Alternate I (APP~ 2003) of 52.247-64.

 (c) The Contractor shall comply with the FAR clauses in this paragraph (e), applicable to commercial services, that the
Contracting Officer has indicated as being incorporated in this contract by reference to implement provisions of law or
Executive orders applicable to acquisitions of commercial items: [Contracting Officer check as appropriate.]

   [] (1) 52.222-41, Service Contract Act of 1965, as Amended (JUL 2005) (41 U.S.C. 351, et seq.).

   [] (2) 52.222-42, Statement of Equivalent Rates for Federal I-Iires (MAY 1989) (29 U.S.C. 206 and 41 U.S.C. 351, et
seq.).

  [_] (3) 52.222-43, Fair Labor Standards Act and Service Contract Act--Price Adjustment (Multiple Year and Option
Contracts) (MAY 1989) (29 U.S.C. 206 and 41 U.S.C. 351, et seq.).

   [] (4) 52.222-44, Fair Labor Standards Act and Service Contract Act--Price Adjustment (February 2002) (29 U.S.C.
206 and 41 U.S.C. 351, et seq.).

   [] (5) 52.222-47, SCA Minimum Wages and Fringe 13enefits Applicable to Successor Contract Pursuant to
Predecessor Contractor Collective Bargaining Agreements (CBA) (May 1989) (41 U.S.C. 35 I, et seq.).

  (d) Comptroller General Examination of Record. The Contractor shall comply with the provisions of this paragraph (d)
if this contract was awarded using other than sealed bid, is in excess of the simplified acquisition threshold, and does not
contain the clause at 52.215-2, Audit and Records--Negotiation.

  (1) The Comptroller General of the United States, or an authorized representative of the Comptroller General, shall
have access to and right to examine any of the Contractor’s directly pertinent records involving transactions related to this
contract.

   (2) The Contractor shall make available at its offices at all reasonable times the records, materials, and other evidence
for examination, audit, or reproduction, until 3 years after f’mal payment under this contract or for any shorter period
specified in FAR Subpart 4.7, Contractor Records Retention, of the other clauses of this contract. If this contract is
completely or partially terminated, the records relating to the work terminated shal.1 be made available for 3 years after
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any resulting final termination settlement. Records relating to appeals under the disputes clause or to litigation or the
settlement of claims arising under or relating to this contract shall be made available until such appeals, litigation, or
claims are finally resolved.

   (3) As used in this clause, records include books, documents, accounting procedures and practices, and other data,
regardless of type and regardless Of form. This does not requLre the Contractor to create or maintain any record that the
Contractor does not maintain in the ordinary course of business or pursuant to a provision of law.

  (e)(l) Notwithstanding the requirements of the clauses in paragraphs (a), (b), (c), and (d) of this cIause, the Contractor is
not required to flow down any FAR clause, other than those in paragraphs (i) through (vi) of this paragraph in a
subcontract for commercial items. Unless otherwise indicated below, the extent of the flow. down shall be as required by
the clause--

     (i) 52.219-8, Utilization of Small Business Concerns (May 2004) (I 5 U.S.C. 637(d)(2) and (3)), in all subcontracts
that offer further subcontracting opportunities; If the subcontract (except subcontracts to smalI business concerns) exceeds
$500,000 ($1,000,000 for construction of any publlc facility), the subcontractor must include 52.219-8 in lower tier
subcontracts that offer subcontracting opportunities.

    (ii) 52.222-26, Equal Opportunity (April 2002) (E.O, 11246).

    (iii) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the Vietnam Era, and Other EIigibIe
Veterans (December 200 l) (38 U.S.C. 4212).

    (iv) 52.222-36, Affirmative Action for Workers with Disabilities (June 1998) (29 U.S.C. 793).

   (v) 52.222-39, Notification of Employee Rights Concerning Payment of Union Dues or Fees (DEC 2004) (E.O.
13201).

    (vi)52.222-41, Service Contract Act of 1965, as Amended (JUL 2005), flow down required for all subcontracts
subject to the Service Contract Act of 1965 (41 U.S.C. 351, et seq.).

    (vii) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels (April 2003) (46 U.S.C. Appx 1241
and 10 U.S.C. 2631). Flow down required in accordance with paragraph (d) of FAR clause 52.247-64.

   (2) While not required, the contractor May include in its subcontracts for commercial items a minimal number of
additional clauses necessary to satisfy its contractual obligations.




 A.4 52.212-4 CONTRACT TERMS AND CONDITiONS--COMMERCIAL ITEMS
      (OCT 2003)

  (a) Inspection/Acceptance. The Contractor shall only tender for acceptance those items that conform to the requirements
&this contract. The Government reserves the right to inspect or test any supplies or services that have been tendered for
acceptance. The Government may require repair or replacement of nonconforming supplies or reperformance of
nonconforming services at no increase in contract price. The Government must exercise its postaeeeptance rights (1)
within a reasonable time.after the defect was discovered or should have been discovered; and (2) before any substantial
change occu{s in the condition of the item, unless the change is due to the defect in the item.

 (b) Assignment. The Contractor or its assignee may assign its rights to receive payment due as a result of performance
of this contract to a bank, trust company, or other financing institution, including any Federal lending agency in
accordance with the Assignment of Claims Act (31 U.S.C. 3727). However, when a third party makes payment (e.g., use
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of the Governmentwide commercial purchase card), the Contractor may not assign its rights to receive payment under this
contract.

  (c) Changes. Changes in the terms and conditions of this contract may be made only by written agreement of the parties.

  (d) Disputes. This contract is suSject to the Contract Disputes Act of 1978, as amended (41 U.S.C. 60 t-613). Failure of
the parties to this contract to reach agreement on any request for equitable adjustment, claim, appeal or action arising
under or relating to this contract shall be a dispute to be resolved in accordance with the clause at FAR 52.233-1,
Disputes, which is incorporated herein by reference. The Contractor shall proceed diligently with performance of this
contract, pendingfinal resolution of any dispute arising under the contract.

  (e) Definitions. The clause at FAR 52.202-1, Definitions, is incorporated herein byreference.

  (f) Excusable delays. The Contractor shall be liable for default unless nonperformance is caused by an occurrence
beyond the reasonable control of the Contractor and without its fault or negligence such as, acts of God or the public
enemy, acts of the Government in either its sovereign or con .tractual capacity, fires, floods, epidemics, quarantine
restrictions, strikes, unusually severe weather, and delays of co .mmon carriers. The Contractor shall notify the Contracting
Officer in writing as soon as it is reasonably possible after the commencement of any excusable delay, setting forth the
full particulars in connection therewith, shall remedy such occurrence with all reasonable dispatch, and shall promptly
givewritten notice to the Contracting Officer of the cessation of such occurrence.

  (g) Invoice.

   (I) The Contractor shall submit an original invoice and three copies(or electronic invoice, if authorized) to the address
designated in the contract to receive invoices. An invoice must include--

    (i) Name and address of the Contractor;

    (ii) Invoice date and number;
    (iii) Contract number, contract line item number and, if applicable, the order number;

    (iv) Description, quantity, unit of measure, unit price and extended price of the items delivered;

   (v) Shipping number and date of shipment, including the bill of lading number and weight of shipment if shipped on
Government bill of lading;

    (vi) Terms of any discount for prompt payment offered;

    (vii) Name and address of offieiaI to whom payment is to be sent;

    (viii) Name, title, and phone number of person to notify in event of defective invoice; and

    (ix) Taxpayer Identification Number (TIN). The Contractor shall include its TIN on the invoice only if required
elsewhere in this contract.

    (x) Electronic funds transfer (EFT) banking information.

     (A) The Contractor shall include EFT banking information on the invoice only if required elsewhere in this contract.

     (B) If EFT banking information is not required to be on the invoice, in order for the invoice to be a proper invoice,
the Contractor shall have submitted correct EFT banking information in accordance with the applicable solicitation
provision, contract clause (e.g., 52.232-33, Payment by Electronic Funds Transfer-- Central Contractor Registration, or
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52.232-34, Payment by Electronic Funds Transfer--Other Than Central Contractor Registration), or applicable agency
procedures.

     (C) EFT banking information is not required if the Government waived the requirement to pay by EFT.

   (2) Invoices will be handled in accordance with the Prompt Payment Act (31 U.S.C, 3903) and Office of Management
and Budget (OMB) prompt payment regulations at 5 CFR part 1315.

  (h) Patent indemnity. The Contractor shall indemnify the Government and its officers, employees and agents against
liability, including co~ts, for actual or alleged direct or contributoiy infringement of, or inducement to infringe, any United
States Or foreign patent, trademark or copyright, arising out of the performance of this contract, provided the Contractor is
reasonably notified of such claims and proceedings.

  (i) Payment.

   (1) Items accepted. Payment shall be made for items accepted by the Government that have been delivered to the
delivery destinations set forth in this contract.

   (2) Prompt payment. The Government will make payment in accordance with the Prompt Payment Act (31 U.S.C.
3903) and prompt payment regulations at 5 CFR part 1315.

  (3) Electronic Funds Transfer (EFT). If the Government makes payment by EFT, see 52.212-5(b) for the appropriate
EFT clause.

   (4) Discount. In connection with any discount offered for early payment, time shall be computed from the date of the
invoice. For the purpose of computing the discount earned, payment shall be considered to have been made on the date
which appears on the payment check or the specified payment date if an electronic funds transfer payment is made.

  .(5) Overpayments. If the Contractor becomes aware of a duplicate contract financing or invoice payment or that the
Government has otherwise overpaid on a contract financing or invoice payment, the Contractor shall immediately notify
the Contracting Officer and request instructions for disposition of the overpayment.

 (j) Risk of loss. Unless the contract specifically provides otherwise, risk of loss or damage to the supplies provided
under this contract shall remain with the Contractor until, and shall pass to the Government upon:

   (1) Delivery of the supplies to a carrier, if transportation is f.o.b, origin; or

   (2) Delivery of the supplies to the Government at the destination specified in the contract, if transportation is f.o.b.
destination.

 (k) Taxes. The contract price includes all applicable Federal, State, and local taxes and duties.

  (1) Termination for the Government’s convenience, The Government reserves the right to terminate this contract, or any
part hereof, for its sole convenience, In the event of such termination, the Contractor shall immediately stop all work
hereunder and shall immediately cause any and all of its suppliers and subcontractors to cease work. Subject to the terms
of this contract, the Contractor shall be paid a percentage of the contract price reflecting the percentage of the work
performed prior to the notice of termination, plus reasonable charges the Contractor can demonstrate to the satisfaction of
the Government using its standard record keeping system, have resulted from the termination, The Contractor shall not be
required to comply with the cost accounting standards or contract cost principles for this purpose. This paragraph does not
give the Government any right to audit the Contractor’s records. The Contractor shall not be paid for any work performed
or costs incurred which reasonably could have been avoided.

  (m) Termination for cause. The Government may terminate this contract, or any part hereof, for cause in the event of
any default by the Contractor, or if the Contractor fails to comply with any contract terms and conditions;or fails to
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provide the Government, upon request, with adequate assurances of future performance. In the event of termination for
cause, the Government shall not be liable to the Contractor for any amount for supplies or services not accepted, and the
Contractor shall be liable to the Government for any and alI rights and remedies provided by law. If it is determined that
the Government improperly terminated this contract for default, such termination shall be deemed a termination for
convenience.

 (n) Title. Unless specified elsewhere in this contract, title to items furnished under this contract shall pass to the
Government upon acceptance, regardless of when or where the Government takes physical possession.

  (o) Warranty. The Contractor warrants and implies that the items delivered hereunder are merchantable and fit for use
for the particular purpose described in this contract.

 (p) Limitation of liability. Except as otherwise provided by an express warranty, the Contractor will not be liable to the
Government for consequential damages resulting from any defect or deficiencies in accepted items.

  (q) Other compliances. The Contractor shall comply with all applicable Federal, State and looal laws, executive orders,
rules and regulations applicable to its performance under this contract.

  (0 Compliance with laws unique to Government contracts. The Contractor agrees to comply with 31 U.S.C. 1352
relating to limitations on the use of appropriated funds to influence certain Federal contracts; 18 U.S.C. 431 relating to
officials not to benefit; 40 U.S.C 327, et seq., Contract Work Hours and Safety Standards Act; 41 U.S.C. 51-58, Anti-
Kickback Act of 1986; 41 U.S.C. 265 and l0 U.S.c. 2409 relating to whistle blower protections; 49 U.S.C 40118, Fly
American; and 4I U.S,c. 423 relating to procurement integrity.

  (s) Order of precedence. Any inconsistencies in this solicitation or contract shall be resolved by giving precedence in the
following order: (1) the sehedute of supplies/services; (2) the Assignments, Disputes, Payments, Invoice, Other
Compliances, and Compliance with Laws Unique to Government Contracts paragraphs of this clause; (3) the clause at
52.212-5; (4) addenda to this solicitation or contract, including any license agreements for computer software; (5)
solicitation provisions if this is a solicitation; (6) other paragraphs of this clause; (7) the Standard Form 1449; (8) other
documents, exhibits, and attachments; and (9) the specification.

  (t) Central Contractor Registration (CCR).

   (1) Unless exempted by an addendum to this contract, the Contractor is responsible during performance and through
final payment of any contract for the accuracy and completeness of the data within the CCR database, and for any liability
resulting from the Government’s reliance on inaccurate or incomplete data. To remain registered in the CCR database after
the initial registration, the Contractor is required to review and update on an annual basis from the date ofinitial
registration or subsequent updates its information in the CCR database to ensure it is current, accurate and complete.
Updating information in the CCR does not alter the terms and conditions of this contract and is not a substitute for a
properly executed contractual document.

   (2)(i) If a Contractor has legally changed its business name, "doing business as" name, or division name (whichever is
shown on the contract), or has transferred the assets used in performing the contract, but has not completed the necessary
requirements regarding novation and change-of-name agreements in FAR subpart 42.12, the Contractor shall provide the
responsible Contracting Officer a minimum of one business day’s written notification of its intention to (A) change the
name in the CCR database; (B) comply with the requirements of subpart 42.12; and (C) agree in writing to the timeline
and procedures specified by the responsible Contracting Officer~ The Contractor must provide with the notification
sufficient documentation to support the legally changed name.

    (ii) If the Contractor fails to comply with the requirements of paragraph (t)(2)(i) of this clause, or fails to perform the
agreement at paragraph (t)(2)(i)(C) of this clause, and, in the absence of a properly executed novation or change-of-name
agreement, the CCR information that shows the Contractor to be other than the Contractor indicated in the contract wil! be
considered to be incorrect information within the meaning of the "Suspension of Payment" paragraph of the electronic
funds transfer (EFT) clause of this contract.
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   (3) The Contractor shall not change the name or address for EFT payments or manual payments, as appropriate, in the
CCR record to reflect an assignee for the purpose of assignment of claims (see Subpart 32.8, Assignment of Claims).
Assignees shall be separately registered in the CCR database. Information provided to the Contractor’s CCR record that
indicates payments, including thos.e made by EFT, to an ultimate recipient other than that Contractor will be considered to
be incorrect information within the meaning of the "Suspension of payment" paragraph of the EFT clause of this contract.

   (4) Offerors and Contractors may obtain information on registration and annual confirmation requirements via the
internet at http://www.ccr.gov or by calling 1-888-227-2423 or 269-961-5757.




 A.5 NOTICE LISTING CLAUSES INCORPORATED BY REFERENCE                                          :
     The following elauses are hereby in’eorporated by reference (by Citatioia Number, Title, and Date) in accordance with
the clause at FAR "52.252-2 CLAUSES INCORPORATED BY REFERENCE" contained in this document. FAR 52.252-
2 contains the Internet address for electronic access to the ful! text of a clause.


     NUMBER                  TITLE                                                         DATE

      52.233-4               Applieable Law for Breach of Contract                       OCT 2004
                             Claim


A.6 HSAR 3052.209-70 PROHIBITION ON CONTRACTS WITH CORPORATE EXPATRIATES
     (DEC 2003)
  (a) Prohibitions.
   Section 835 of Public Law 107-296, prohibits the Department of Homeland Security from entering into any contract
with a foreign incorporated entity after November 25, 2002, which is treated as an inverted domestic corporation as
defined in this clause.
   The Secretary shall waive the prohibition with respect to any specific contract if the Secretary determines that the
waiver is required in the interest of homeland security, or to prevent the loss of any jobs in the United States or prevent
the Government from incurring any additional costs that otherwise would not occur.

  (b) Definitions. As used in this clause:
   Expanded Affiliated Group means an affiliated group as defined in section 1504(a) 0fthe Internal Revenue Code of
1986 (without regard to section 1504(b) of such Code), except that section 1504 of such Code shall be applied by
substituting ’more than 50 percent’ for ’at least 80 percent’ each place it appears.

 . Foreign Incorporated Entity means any entity which is, or but for subsection (b) of section 835 of the Homeland
Security Act, Public Law 107-296, would be, treated as a foreign corporation for purposes of the Internal Revenue Code
of 1986.
  Inverted Domestic Corporation. A foreign incorporated entity shall be treated as an inverted domestic corporation if,
pursuant to a plan (or a series of related transactions)--
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    (1) The entity completes after November 25, 2002, the direct or indirect acquisition of substantially all of the
properties held directly or indirectly by a domestic corporation or substantially all of the properties constituting a trade or
business of a domestic partnership;

    (2) After the acquisition at least 80 percent of the stock (by vote or valu?) of the entity is held--
     (i) In the case of an acquisition with respect to a domestic corporation, by former shareholders of the domestic
corporation by reason of holding stock in the domestic corporation; or

     (ii) In the case of an acquisition with respect to a domestic partnership, by former partners of the domestic
partnership by reason of holding a capital or profits interest in the domestic partnership; and

     (3) The expanded affiliated group which after the acquisition includes the entity does not have substantial business
activities in the foreign country in which or under the law of which the entity is created or organized when compared to
the total business activities of such expanded affiliated group.
    Person, domestic, and foreign have the meanings given such terms by paragraphs (1), (4), and (5) of section 7701(a)
of the Internal Revenue Code of 1986, respectively.

  (c) Special rules. The following definitions and special rules shall apply when determining whether a foreign
incorporated entity should be treated as an inverted domestic corporation.

   (I) Certain stock disregarded. For the purpose of treating a foreign incorporated entity as an inverted domestic
corporation these shall not be taken into account in determining ownership:

    (i) stock held by members of the expanded affiliated group which includes the foreign incorporated entity; or

    (ii) stock of such entity which is sold in a public offering related to the acquisition described in subsection (b)(1) of
Section 835 of the Homeland Security Act, Public Law 107-296.

   (2) Plan deemed in certain cases. Ifa foreign incorporated entity acquires directly or-indirectly substantially all of the
properties of a domestic corporation or partnership during the 4- year period beginning on the date which is after the date
of enactment of this Act and which is 2 years before the ownership requirements of subsection (b)(2) are met, such actions
shall be treated as pursuant to a plan.

   (3) Certain transfers disregarded. The transfer of properties or liabilities (including by contribution or distribution)
shall be disregarded if such transfers are part of a plan a principal purpose of which is to avoid the purposes of this
section.

  (d) Special rule for related partnerships. For purposes of applying section 835(b) of Public Law 107-296 to the
acquisition of a domestic partnership, except as provided in regulations, all domestic partnerships which are under
common control (within the meaning of section 482 of the Internal Revenue Code of 1986) shall be treated as a
partnership.

 (e) Treatment of Certain Rights.

   (1) Certain rights shall be treated as stocks to the extent necessary to reflect the present value of all equitable interests
incident to the transaction, as follows: (i) Warrants; (ii) Options; (iii) Contracts to acquire stock; (iv) Convertible debt
instruments; (v)Others similar interests.
   (2) Rights labeled as stocks shall not be treated as stocks whenever it is deemed appropriate to do so to reflect the
present value of the transaction or to disregard transactions whose recognition would defeat the purpose of section 835.
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  (f) Disclosure. By signing and submitting its offer, an offeror under this solicitation represents that it not a foreign
incorporated entity that should be treated as an inverted domestic corporation pursuant to the criteria of Section 835 of the
Homeland Security Act, Public Law 107-296 of November 25, 2002.

 (g) Ira waiver has been granted, a copy of the approved waiver shall be attached to the bid or proposal.
